Case MDL No. 3114 Document 61-2 Filed 04/25/24 Page 1 of 56




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                             Case MDL No. 3114 Document 61-2 Filed 04/25/24 Page 2 of 56




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                                                U.S. District Court
                                   Eastern District of TEXAS [LIVE] (Marshall)
                               CIVIL DOCKET FOR CASE #: 2:24-cv-00261-JRG-RSP


                 Sanford v. AT&T                                                   Date Filed: 04/19/2024
                 Assigned to: District Judge Rodney Gilstrap                       Jury Demand: Plaintiff
                 Referred to: Magistrate Judge Roy S. Payne                        Nature of Suit: 360 P.I.: Other
                 Cause: 28:1332 Diversity-Personal Injury                          Jurisdiction: Diversity
                 Plaintiff
                 Mary Loechel Sanford                          represented by Daniel Allen Hossley
                                                                              Hossley & Embry LLP - Tyler
                                                                              515 South Vine Ave.
                                                                              Tyler, TX 75702
                                                                              903/526-1772
                                                                              Email: allen@hossleyembry.com
                                                                              ATTORNEY TO BE NOTICED


                 V.
                 Defendant
                 AT&T


                  Date Filed        # Docket Text
                  04/19/2024       1 COMPLAINT Sanford against AT&T ( Filing fee $ 405 receipt number
                                     ATXEDC-10094888.), filed by Mary Loechel Sanford. (Attachments: # 1
                                     Civil Cover Sheet Sanford v. AT&T)(Hossley, Daniel) (Additional
                                     attachment(s) added on 4/22/2024: # 2 Civil Cover Sheet) (NKL).
                                     (Entered: 04/19/2024)
                  04/19/2024             Case Assigned to District Judge Rodney Gilstrap and Magistrate Judge
                                         Roy S. Payne. (NKL) (Entered: 04/19/2024)
                  04/19/2024             In accordance with the provisions of 28 USC Section 636(c), you are
                                         hereby notified that a U.S. Magistrate Judge of this district court is
                                         available to conduct any or all proceedings in this case including a jury or
                                         non-jury trial and to order the entry of a final judgment. The form Consent
                                         to Proceed Before Magistrate Judge is available on our website. All signed




1 of 2                                                                                                                   4/25/2024, 2:06 PM
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                            Case MDL No. 3114 Document 61-2 Filed 04/25/24 Page 3 of 56




                                         consent forms, excluding pro se parties, should be filed electronically
                                         using the event Notice Regarding Consent to Proceed Before Magistrate
                                         Judge. (NKL) (Entered: 04/19/2024)



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2 of 2                                                                                                                        4/25/2024, 2:06 PM
Case 2:24-cv-00261-JRG-RSP
         Case MDL No. 3114 Document
                           Document 61-2
                                    1 Filed
                                         Filed
                                            04/19/24
                                               04/25/24Page
                                                         Page
                                                            1 of4 53
                                                                  of 56
                                                                     PageID #: 1




                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


 MARY LOECHEL SANFORD,                      )
 individually and on behalf of all others   )   CASE NO.: 2:24-cv-00261
 similarly situated,                        )
                                            )
                   Plaintiff,               )
                                            )   CLASS ACTION COMPLAINT
 v.                                         )
                                            )
 AT&T INC.,                                 )
                                            )   DEMAND FOR JURY TRIAL
                   Defendant.               )
                                            )
Case 2:24-cv-00261-JRG-RSP
         Case MDL No. 3114 Document
                           Document 61-2
                                    1 Filed
                                         Filed
                                            04/19/24
                                               04/25/24Page
                                                         Page
                                                            2 of5 53
                                                                  of 56
                                                                     PageID #: 2




                                                    TABLE OF CONTENTS

SUMMARY OF THE CASE .......................................................................................................... 3
JURISDICTION AND VENUE ..................................................................................................... 5
PARTIES ........................................................................................................................................ 5
   Plaintiff, Mary Loechel Sanford.................................................................................................. 5
   Defendant, AT&T Inc. ................................................................................................................ 7
REGULATORY FRAMEWORK AND STANDARDS GOVERNING CREATION,
COLLECTION, MAINTENANCE, AND USE OF PRIVATE INFORMATION ........................ 7
   A. The Federal Trade Commission Act (FTCA) ...................................................................... 8
   B. State Laws Concerning Private Information ...................................................................... 10
   C. Industry Standards ............................................................................................................. 11
FACTUAL ALLEGATIONS ....................................................................................................... 15
   A. AT&T’s Business............................................................................................................... 15
   B. The Data Breach ................................................................................................................ 18
   C. Defendant Failed to Comply with Regulatory Requirements and Standards, and Breached
   Contracts with and Duties Owed to Plaintiff and Class Members ............................................ 19
   D. The Private Information Accessed in the Date Breach is Highly Valuable ....................... 20
   E. The Data Breach was a Foreseeable Risk .......................................................................... 22
   F.     The Data Breach Harmed and Will Continue to Harm the Class ...................................... 25
CLASS ALLEGATIONS ............................................................................................................. 27
CAUSES OF ACTION ................................................................................................................. 32
   COUNT ONE Negligence (On Behalf of Plaintiff and the Classes) ........................................ 33
   COUNT TWO Negligence Per Se (On Behalf of Plaintiff and the Classes) ............................ 37
   COUNT THREE Negligent Failure to Warn (On Behalf of Plaintiff and the Classes) ............ 38
   COUNT FOUR Breach of Implied Contract (On Behalf of Plaintiff and the Classes) ........... 40
   COUNT FIVE Unjust Enrichment (On Behalf of Plaintiff and the Classes)............................ 41
   COUNT SIX Declaratory Judgment (On Behalf of Plaintiff and the Classes) ......................... 43
   COUNT SEVEN Texas DTPCPA-(On Behalf of Plaintiff and the Texas Subclass)................ 46
PRAYER FOR RELIEF ............................................................................................................... 49
JURY TRIAL DEMANDED ........................................................................................................ 52



                                                                        2
Case 2:24-cv-00261-JRG-RSP
         Case MDL No. 3114 Document
                           Document 61-2
                                    1 Filed
                                         Filed
                                            04/19/24
                                               04/25/24Page
                                                         Page
                                                            3 of6 53
                                                                  of 56
                                                                     PageID #: 3




                                CLASS ACTION COMPLAINT

       Plaintiff Mary Loechel Sanford (“Plaintiff”), individually and on behalf of the Class

defined herein of similarly situated persons (“Class Members”), alleges the following against

Defendant AT&T Inc. (“AT&T” or “Defendant”), based upon personal knowledge with respect to

herself and on information and belief as to all other matters:


                                  SUMMARY OF THE CASE

       1.      This action arises from Defendant’s failure to secure personal identifiable

information (“PII,” referred to herein as “Private Information”)1 of Plaintiff and the members of

the proposed Classes, including their first and last names, dates of birth, Social Security numbers,

physical addresses, and phone numbers.

       2.      AT&T is one of the largest telecommunications companies in the United States,

providing nationwide wireless voice, messaging, and data services. In providing its services,

AT&T created, collected, and maintained its customers’ Private Information.

       3.      On or about March 30, 2024, AT&T publicly announced that the details of 73

million former and current AT&T customer accounts, including its customers’ Private Information

and AT&T account numbers and passcodes, were leaked online (the “Data Breach”). 2




1
  The Federal Trade Commission defines “identifying information” as “any name or number that
may be used, alone or in conjunction with any other information, to identify a specific person,”
including, but not limited to, “[n]ame, Social Security number, date of birth, official State or
government issued driver’s license or identification number, alien registration number,
government passport number, employer or taxpayer identification number.” 17 C.F.R. §
248.201(b)(8).
2
 AT&T says personal data from 73 million current and former account holders leaked onto dark
web, CNN (March 30, 2024) https://www.cnn.com/2024/03/30/tech/att-data-leak/index.html (last
visited March 31, 2024).


                                                 3
Case 2:24-cv-00261-JRG-RSP
         Case MDL No. 3114 Document
                           Document 61-2
                                    1 Filed
                                         Filed
                                            04/19/24
                                               04/25/24Page
                                                         Page
                                                            4 of7 53
                                                                  of 56
                                                                     PageID #: 4




       4.      In fact, AT&T had been alerted to the massive leak at least two weeks prior, but

responded on or about March 17:

               We have no indications of a compromise of our systems. We
               determined in 2021 that the information offered on this online forum
               did not appear to have come from our systems. We believe and are
               working to confirm that the data set discussed today is the same
               dataset that has been recycled several times on this forum. 3

       5.      AT&T was obligated—by contract, industry standards, common law, and its

representations to its customers, including Plaintiff and other Class Members—to secure the

Private Information from unauthorized disclosures. Plaintiff and Class Members provided their

Private Information to AT&T with the understanding that AT&T and any business partners to

whom AT&T may disclose the Personally Identifiable Information would comply with their

obligations to keep such information confidential and secure from unauthorized disclosures.

       6.      Notwithstanding its obligations, it is apparent from the reported nature and extent

of the Data Breach, and Defendant’s response thereto, that Defendant failed to take reasonable,

timely and appropriate measures to protect against the foreseeable unauthorized disclosure of

Private Information.

       7.      As a direct and proximate result of Defendant’s failures, Plaintiff and the Class

Members have suffered and will indefinitely suffer serious injury.

       8.      Accordingly, Plaintiff, on behalf of herself and the estimated millions of similarly

situated victims of the Data Breach, seeks to hold Defendant responsible for the injuries suffered



3
  Id. According to media sources, “Details of the leaked data first appeared online in August 2021,
when a known threat actor, ShinyHunters, offered up the records for sale on a hacking forum, with
a ‘buy it now' price of one million dollars.” Tech and Cybersecurity: A Closer Look at This Week’s
News. 24/03/2024 (March 24, 2024), https://www.jimgogarty.com/tech-and-cybersecurity-a-
closer-look-at-this-weeks-news-24-03-
2024/#:~:text=The%20details%20of%20the%20leaked,another%20threat%20actor%2C%20Maj
or%20Nelson (last visited April 3, 2024).


                                                4
Case 2:24-cv-00261-JRG-RSP
         Case MDL No. 3114 Document
                           Document 61-2
                                    1 Filed
                                         Filed
                                            04/19/24
                                               04/25/24Page
                                                         Page
                                                            5 of8 53
                                                                  of 56
                                                                     PageID #: 5




as the result of its misconduct and failure to act, and demands appropriate monetary, equitable,

injunctive, and declaratory relief.


                                  JURISDICTION AND VENUE

        9.      This Court has subject matter jurisdiction pursuant to the Class Action Fairness

Act, 28 U.S.C. § 1332(d)(2) because this is a class action where the amount in controversy exceeds

the sum or value of $5 million, exclusive of interest and costs, there are more than 100 putative

members in the proposed class, and at least one Class Member (e.g., Plaintiff) is a citizen of a state

different from Defendant.

        10.     The Court also has supplemental jurisdiction over the state law claims pursuant to

28 U.S.C. § 1367 because all claims alleged are part of the same case or controversy.

        11.     This Court has personal jurisdiction over AT&T. AT&T is headquartered in the

State of Texas and routinely conducts business within Eastern District, Marshal Division.

Defendant has sufficient minimum contacts in this State, has intentionally availed itself of this

jurisdiction by conducting business in this State, including through marketing and/or selling

products and/or services and/or by accepting and processing payments for those products and/or

services within this State of Texas and the Eastern District, Marshall Division.

        12.     Venue is proper in this Court under 28 U.S.C. § 1391 because a substantial part of

the events that gave rise to Plaintiff’s claims took place within the Eastern District, Plaintiff resides

in the Eastern District, and Defendant does business in the Eastern District, Marshall Division.


                                              PARTIES

                                  Plaintiff, Mary Loechel Sanford




                                                   5
Case 2:24-cv-00261-JRG-RSP
         Case MDL No. 3114 Document
                           Document 61-2
                                    1 Filed
                                         Filed
                                            04/19/24
                                               04/25/24Page
                                                         Page
                                                            6 of9 53
                                                                  of 56
                                                                     PageID #: 6




       13.     Plaintiff Mary Loechel Sanford (“Plaintiff”) is a citizen and resident of the City of

Tyler, County of Smith, and State of Texas.

       14.     For purposes of receiving telecommunications services from AT&T, Plaintiff was

required to provide her Private Information to AT&T including, but not limited to, full name,

address, telephone number, date of birth, Social Security number, and financial information.

       15.     Through use of AT&T’s services, AT&T created and collected additional

information in regard to Plaintiff including, but not limited to, identifiers (name, postal address, e-

mail address, account name, Social Security number, driver’s license number, passport number,

taxpayer identification number, IP address, and device IDs); characteristics of protected

classification (age, age range, date of birth, gender, preferred language, and marital status);

commercial information (records or personal property, products or services purchased, obtained,

or considered, or other purchasing or consuming histories or tendencies); financial accounts and

credentials (account log-in, financial account, debit card or credit card number in combination with

any required security or access code, password, or credentials allowing access to an account);

geolocation data (street address, ZIP code, and device location); content of communications

(contents of an individual’s Plain SMS text messages up to 48 hours and spam texts); internet or

other electronic network activity information (browsing history, search history and information

regarding an individual’s interaction with an internet website, application, or advertisement);

inferences or audience segmentation (individual profiles, preferences, characteristics, and

behaviors); audio, electronic, visual or similar information (video surveillance, audio recordings,

photographs, and signatures associated with an account); biometric information (fingerprint,

voiceprint, or scan of face geometry, that it used to identify a specific individual); education




                                                  6
Case 2:24-cv-00261-JRG-RSP
        Case MDL No. 3114 Document
                           Document61-2
                                    1 Filed
                                         Filed
                                             04/19/24
                                               04/25/24Page
                                                         Page
                                                            7 of
                                                              1053
                                                                 of PageID
                                                                    56     #: 7




information (degrees, actual or inferred level of education); and professional or employment-

related information (current or past employment history, licenses, and professional membership).

          16.   Defendant stored Plaintiff’s Private Information on its systems at all times relevant

hereto.

          17.   Defendant sent an e-mail notification to Plaintiff on March 27, 2024, notifying her

that her Private Information had been accessed and removed without her authorization.

          18.   Plaintiff received no warnings from Defendant that they did not adequately secure

and protect her Private Information. Plaintiff learned of the Data Breach only after it had occurred.

          19.   Exposure and exploitation of Plaintiff’s Private Information has caused Plaintiff

additional stress, anxiety, and distress. Since Plaintiff learned of the Data Breach, Plaintiff has

spent, and will indefinitely continue to spend, considerable time monitoring for adverse personal

impacts caused by unauthorized exposure of her Private Information, such as evidence of identity

theft and the modification to or theft from her various financial accounts, and investigating the

Data Breach for indications that her Private Information has been exploited and to what extent.

          20.   But for the Data Breach, Plaintiff would not have expended her time in this fashion.

                                      Defendant, AT&T Inc.

          21.   AT&T Inc. is a corporation organized under the laws of Delaware, with its

headquarters and principal place of business located at 208 S. Akard Street, Dallas, Texas, 75202.


    REGULATORY FRAMEWORK AND STANDARDS GOVERNING CREATION,
     COLLECTION, MAINTENANCE, AND USE OF PRIVATE INFORMATION

          22.   Federal and state regulators have established security standards and issued

guidelines and recommendations to reduce the risk of cyberattacks, data breaches, and the resulting




                                                  7
Case 2:24-cv-00261-JRG-RSP
        Case MDL No. 3114 Document
                           Document61-2
                                    1 Filed
                                         Filed
                                             04/19/24
                                               04/25/24Page
                                                         Page
                                                            8 of
                                                              1153
                                                                 of PageID
                                                                    56     #: 8




consumer harm. There are a number of state and federal laws, requirements, and industry standards

governing the creation, collection, protection, and use of Private Information.

       23.     AT&T knew or should have known of the obligations, standards, guidelines, and

recommendations with respect to their creation, collection, maintenance, protection, and use of

Private Information.

    A. The Federal Trade Commission Act (FTCA)

       24.     The Federal Trade Commission (“FTC”) “works to prevent fraudulent, deceptive,

and unfair practices that target businesses and consumers.” The Federal Trade Commission Act

(“FTCA”), 15 U.S.C. § 45, prohibits “unfair or deceptive acts or practices in or affecting

commerce.”

       25.     The FTC has determined that a company’s failure to maintain reasonable and

appropriate data security for consumers’ sensitive personal information is an “unfair practice” in

violation of the FTCA.

       26.     Consequently, the FTC has issued numerous guidelines to identify best data

security practices that businesses, such as Defendant, should employ to protect against unlawful

exposure of Private Information.

       27.     The FTC’s guidance for businesses underscores the importance of implementing

and maintaining reasonable data security practices. 4 For example, the FTC offers the following

general guidelines:




4
    Start with Security: A Guide for Business, Federal Trade Commission,
https://www.ftc.gov/business-guidance/resources/start-security-guide-business#start (last visited
February 26, 2024).


                                                 8
Case 2:24-cv-00261-JRG-RSP
        Case MDL No. 3114 Document
                           Document61-2
                                    1 Filed
                                         Filed
                                             04/19/24
                                               04/25/24Page
                                                         Page
                                                            9 of
                                                              1253
                                                                 of PageID
                                                                    56     #: 9




             In managing confidential information, businesses should factor security into the

              decision making in every department of the business—personnel, sales, accounting,

              information technology, etc.

             Don’t collect personal information you don’t need, and hold on to information only

              as long as you have a legitimate business need.

             Don’t use personal information when it’s not necessary.

             Use an intrusion detection system to expose a breach as soon as it occurs.

             Watch for large amounts of data being transmitted from the system.

             Have a response plan in the event of a breach.

       28.     With respect to updates and patches to third-party software, the FTC states that

outdated software undermines security, the solution being to update software regularly, implement

third-party patches as they are issued, prioritize patches by the severity of the threat they are

designed to avert, and use automated tools to track which version of software is running and

whether updates are available.

       29.     Consequently, the FTC strongly encourages businesses to “[p]ut procedures in

place to keep your security current and address vulnerabilities that may arise,” including to

“[c]heck expert websites (such as www.us-cert.gov) and your software vendors’ websites regularly

for alerts about new vulnerabilities, and implement policies for installing vendor-approved patches

to correct problems.”5 The FTC’s website cites an example case, wherein it charged that a business

failed to patch a critical vulnerability because its patch management policies and procedures were

inadequate.



5
   Protecting Personal Information: A Guide for Business, Federal Trade Commission,
https://www.ftc.gov/business-guidance/resources/protecting-personal-information-guide-
business (last visited February 26, 2024).


                                                9
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              10 of
                                                                 1353
                                                                    of PageID
                                                                       56     #: 10




        30.     With respect to security warnings in regard to vulnerabilities, the FTC cautions

 businesses to heed credible security warnings and move quickly to fix them. The FTC also strongly

 encourages businesses to “[h]ave an effective process in place to receive and address security

 vulnerability reports.” Citing an example case, wherein the FTC charged that a business’ alleged

 delay in responding to warnings meant that the vulnerabilities found their way onto additional

 devices and across multiple system versions, the FTC warns: “When vulnerabilities come to your

 attention, listen carefully and then get a move on.”

        31.     The FTC has routinely brought enforcement actions against businesses for failing

 to adequately and reasonably protect consumer data, treating the failure to do so as an unfair act

 or practice prohibited by the FTCA. Orders derived from these enforcement actions explicate the

 measures businesses must take to satisfy obligations concerning data security.

    B. State Laws Concerning Private Information

        32.     At least 24 states have enacted laws addressing data security practices, requiring

 businesses that own, license, or maintain Private Information about a resident to implement and

 maintain “reasonable security procedures and practices” and to protect Private Information from

 unauthorized access.

        33.     The Texas data security statute, Tex. Bus. & Com. Code § 521.051, et seq., was

 enacted to forbid specific actions and necessitate certain practices regarding the security of

 personal identifying information.

        34.     Among other requirements, § 521.052 imposes certain requirements on businesses

 with respect to the protection of sensitive personal information including, but not limited to, that

 the “business shall implement and maintain reasonable procedures, including taking any

 appropriate corrective action, to protect from unlawful use or disclosure any sensitive personal




                                                 10
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              11 of
                                                                 1453
                                                                    of PageID
                                                                       56     #: 11




 information collected or maintained by the business in the regular course of business” and “shall

 destroy or arrange for the destruction of customer records containing sensitive personal

 information within the business’s custody or control that are not to be retained by the business by

 (1) shredding; (2) erasing; or (3) otherwise modifying the sensitive personal information in the

 records to make the information unreadable or indecipherable through any means.”

        35.     Additionally, § 521.053requires notification by the business to impacted

 individuals in the event of a breach of system security, including that the business “shall disclose

 any breach of system security, after discovering or receiving notification of the breach, to any

 individual whose sensitive personal information was, or is reasonably believed to have been,

 acquired by an unauthorized person.”

        36.     Pursuant to § 521.05, notification to the impacted individual “shall be made without

 unreasonable delay and in each case not later than the 60th day after the date on which the person

 determines that the breach occurred.”

    C. Industry Standards

        37.     Various cybersecurity industry best practices have been published, are readily

 available, and should be consulted as a go-to source for an entity instituting, developing,

 maintaining, or enhancing its cybersecurity standards.

        38.     These practices include, across all industries encountering Private Information,

 education and appropriate access restriction for all personnel in regard to proper creation,

 collection, maintenance, and use of Protected Information; enforcing strong password and similar

 protections, including multi-factor authentication; applying multi-layer security measures

 (including firewalls, antivirus, and anti-malware software); monitoring for suspicious or irregular

 traffic to servers, credentials used to access servers, activity by known or unknown users, and




                                                 11
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              12 of
                                                                 1553
                                                                    of PageID
                                                                       56     #: 12




 server requests; implementing encryption to render data unreadable without proper authorization;

 and regular back up of data.

        39.     Additional cybersecurity best practices include, but are not limited to, installing

 appropriate malware detection software, monitoring and limiting network posts, securing web

 browsers and e-mail systems, configuring network infrastructure (like firewalls, switches, and

 routers), safeguarding physical security systems, training staff on key cybersecurity aspects,

 monitoring for vulnerability alerts, and promptly detecting and addressing vulnerability alerts

 before exploitation by cybercriminals.

        40.     In addition to commonly recognized industry best practices, the National Institute

 of Standards and Technology (“NIST”) and the Center for Internet Security, Inc. (“CIS”) 6 have

 established standards for reasonable cybersecurity readiness.

        41.     Recognizing that the national and economic security of the United States is

 dependent upon the reliable function of critical infrastructure, President Barrack Obama issued

 Executive Order 13636, Improving Critical Infrastructure Cybersecurity, in February 2013.

 Executive Order 13636 directed NIST to work with stakeholders to develop a voluntary

 framework—based on existing standards, guidelines, and practices—for reducing cyber risks to


 6
   CIS is a community-driven nonprofit responsible for globally recognized best practices for
 securing IT systems and data, including a prescriptive, prioritized, and simplified set of best
 practices in cybersecurity (referred to as “CIS Controls”) and consensus-based prescriptive
 configuration recommendations of global cybersecurity experts (referred to as “CIS
 Benchmarks”). Per the CI website, the CIS Controls are a general set of recommended practices
 for securing a wide range of systems and devices, whereas CIS Benchmarks are guidelines for
 hardening specific operating systems, middleware, software applications, and network devices.
 The need for secure configurations is referenced throughout the CIS Controls. In fact, CIS Control
 4 specifically recommends secure configurations for hardware and software on mobile devices,
 laptops, workstations, and servers. Both the CIS Controls and the CIS Benchmarks are developed
 by      communities      of    experts      using    a      consensus-based      approach.    See
 https://www.cisecurity.org/controls/cis-controls-faq (last visited February 27, 2024).



                                                12
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              13 of
                                                                 1653
                                                                    of PageID
                                                                       56     #: 13




 critical infrastructure. Created through collaboration between industry and government, the

 voluntary framework promotes the protection of critical infrastructure, and provides standards,

 guidelines, tools, and technologies to protect information technology systems against threats to the

 confidentiality of information, integrity of information and processes, and availability of

 information and services.

         42.       For example, NISTIR 8374, a NIST publication titled “Ransomware Risk

 Management: A Cybersecurity Framework Profile,” provides the following essential ransomware

 tips:

               •   Educate employees on avoiding ransomware infections.

                      o Don’t open files or click on links from unknown sources unless you first

                          run an antivirus scan or look at links carefully.

                      o Avoid using personal websites and personal apps—like e-mail, chat, and

                          social media—from work computers.

                      o Don’t connect personally owned devices to work networks without prior

                          authorization.

               •   Avoid having vulnerabilities in systems that ransomware could exploit.

                      o Keep relevant systems fully patched. Run scheduled checks to identify

                          available patches to install these as soon as feasible.

                      o Employ zero trust principles in all networked systems. Manage access to all

                          network functions and segment internal networks where practical to prevent

                          malware from proliferating among potential target systems.




                                                    13
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              14 of
                                                                 1753
                                                                    of PageID
                                                                       56     #: 14




                 o Allow installation and execution of authorized apps only. Configure

                     operating systems and/or third party software to run only authorized

                     applications.

                 o Inform your technology vendors of your expectations (e.g., in contract

                     language) that they will apply measures that discourage ransomware

                     attacks.

          •   Quickly detect and stop ransomware attacks and infections.

                 o Use malware detection software such as antivirus software at all times. Set

                     it to automatically scan e-mails and flash drives.

                 o Continuously monitor directory services (and other primary user stores) for

                     indicators of compromise or active attack.

                 o Block access to untrusted web resources. Use products or services that block

                     access to server names, IP addresses, or ports and protocols that are known

                     to be malicious or suspected to be indicators of malicious system activity.

          •   Make it harder for ransomware to spread.

                 o Use standard user accounts with multi-factor authentication versus accounts

                     with administrative privileges whenever possible.

                 o Introduce authentication delays or configure automatic account lockout as

                     a defense against automated attempts to guess passwords.

                 o Assign and manage credential authorization for all enterprise assets and

                     software, and periodically verify that each account has only the necessary

                     access following the principle of least privilege.




                                               14
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              15 of
                                                                 1853
                                                                    of PageID
                                                                       56     #: 15




                     o Store data in an immutable format (so that the database does not

                         automatically overwrite older data when new data is made available).

                     o Allow external access to internal network resources via secure virtual

                         private network (VPN) connections only.

              •   Make it easier to recover stored information from a future ransomware event.

                     o Make an incident recovery plan. Develop, implement, and regularly

                         exercise an incident recovery plan with defined roles and strategies for

                         decision making. This can be part of a continuity of operations plan. The

                         plan should identify mission-critical and other business-essential services

                         to enable recovery prioritization and business continuity plans for those

                         critical services.

                     o Back up data, secure backups, and test restoration. Carefully plan,

                         implement, and test a data backup and restoration strategy—and secure and

                         isolate backups of important data.

                     o Keep your contacts. Maintain an up-to-date list of internal and external

                         contacts for ransomware attacks, including law enforcement, legal counsel,

                         and incident response resources.


                                    FACTUAL ALLEGATIONS

    A. AT&T’s Business

        43.       According to the Form 10-K AT&T filed with the Securities and Exchange

 Commission for the fiscal year endingDecember 31, 2023, AT&T is a “leading provider of

 telecommunications and technology services globally.”

        44.       AT&T states in its Privacy Notice:


                                                  15
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              16 of
                                                                 1953
                                                                    of PageID
                                                                       56     #: 16




                  We work hard to safeguard your information using technology
                  controls and organizational controls. We protect our computer
                  storage and network equipment. We require employees to
                  authenticate themselves to access sensitive data. We limit access to
                  personal information to the people who need access for their jobs.
                  And we require callers and online users to authenticate themselves
                  before we provide account information. 7

           45.    AT&T also states in its Privacy Notice, “[t]o better run our business, we collect

 information about you, your equipment and how you use products and services,” which “can

 include” contact and billing information, equipment information (“like the type of device you use,

 device ID, and phone number”), location information, web browsing and app information

 (including automatically collected information as to links and ads seen, videos watched, and search

 terms entered), biometric information (including fingerprints, voice prints, and face scans), and

 third-party information (such as credit reports, marketing mailing lists, and commercially available

 demographic and geographic data). According to AT&T, “[a]ll these types of information are

 considered Personal Information when they can reasonably be linked to you as an identifiable

 person or household.”

           46.    AT&T provides various charts at its “Privacy Center” on its website,8 describing

 the categories of personal information it collects and creates in regard to its customers, including:

       •   Identifiers: name, postal address, e-mail address, account name, Social Security number,

           driver’s license number, passport number, taxpayer identification number, IP address, and

           device IDs.

       •   Characteristics of protected classification under state or federal law: age, age range,

           date of birth, gender, preferred language, and marital status.



 7
     https://about.att.com/privacy/privacy-notice.html.
 8
     https://about.att.com/privacy/privacy-notice/state-disclosures.html#we-collect.


                                                    16
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              17 of
                                                                 2053
                                                                    of PageID
                                                                       56     #: 17




    •   Commercial information: records or personal property, products or services purchased,

        obtained, or considered, or other purchasing or consuming histories or tendencies.

    •   Financial accounts & credentials: account log-in, financial account, debit card or credit

        card number in combination with any required security or access code, password, or

        credentials allowing access to an account.

    •   Geolocation data: street address, ZIP code, and device location.

    •   Content of communications: the contents of an individual’s Plain SMS text messages up

        to 48 hours and spam texts.

    •   Internet or other electronic network activity information: browsing history, search

        history and information regarding an individual’s interaction with an internet website,

        application, or advertisement.

    •   Inferences or audience segmentation: individual profiles, preferences, characteristics,

        and behaviors.

    •   Audio, electronic, visual or similar information: video surveillance, audio recordings,

        photographs, and signatures associated with an account.

    •   Biometric information: Fingerprint, voiceprint, or scan of face geometry, that it used to

        identify a specific individual.

    •   Education information: degrees, actual or inferred level of education.

    •   Professional or employment-related information: current or past employment history,

        licenses, and professional membership.

        47.     AT&T stated in its 2023 Form 10-K that it maintains “a network and information

 security program that is reasonably designed to protect our information, and that of our customers,

 from unauthorized risks to their confidentiality, integrity, or availability.” AT&T further stated



                                                 17
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              18 of
                                                                 2153
                                                                    of PageID
                                                                       56     #: 18




 that its scientists and engineers conduct research in a variety of areas, including network and

 cybersecurity.

       B. The Data Breach

            48.   On or about March 30, 2024, AT&T publicly announced that the details of 73

 million former and current AT&T customer accounts, including its customers’ Private Information

 and AT&T account numbers and passcodes, were leaked online (the “Data Breach”). 9

            49.   In fact, AT&T had been alerted to the massive leak at least two weeks prior, but

 responded on or about March 17:

                  We have no indications of a compromise of our systems. We
                  determined in 2021 that the information offered on this online forum
                  did not appear to have come from our systems. We believe and are
                  working to confirm that the data set discussed today is the same
                  dataset that has been recycled several times on this forum. 10

            50.   According to media sources, “Details of the leaked data first appeared online in

 August 2021, when a known threat actor, ShinyHunters, offered up the records for sale on a

 hacking forum, with a ‘buy it now’ price of one million dollars.”11




 9
  AT&T says personal data from 73 million current and former account holders leaked onto dark
 web, CNN (March 30, 2024) https://www.cnn.com/2024/03/30/tech/att-data-leak/index.html (last
 visited March 31, 2024).
 10
      Id.
 11
    Tech and Cybersecurity: A Closer Look at This Week’s News. 24/03/2024 (March 24, 2024),
 https://www.jimgogarty.com/tech-and-cybersecurity-a-closer-look-at-this-weeks-news-24-03-
 2024/#:~:text=The%20details%20of%20the%20leaked,another%20threat%20actor%2C%20Maj
 or%20Nelson (last visited April 3, 2024).


                                                  18
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              19 of
                                                                 2253
                                                                    of PageID
                                                                       56     #: 19




         51.    AT&T confirmed on or about March 30, 2024, that a dataset found on the “dark

 web” contains customers’ Private Information, but stated that it’s unsure whether the massive Data

 Breach “originated from AT&T or one of its vendors.” 12

         52.    AT&T has since begun to forward e-mail notifications to impacted parties, such as

 Plaintiff and Class Members, to advise of the Data Breach.

      C. Defendant Failed to Comply with Regulatory Requirements and Standards, and
         Breached Contracts with and Duties Owed to Plaintiff and Class Members

         53.    On information and belief, AT&T failed to comply with the FTCA. On information

 and belief, Defendant failed to: heed credible security warnings; failed to maintain adequate patch

 management policies and procedures; failed to detect alerts regarding vulnerabilities affecting its

 systems; failed to properly update and patch third-party software, update software regularly,

 implement third-party patches when issued, and prioritize patches by the severity of the threat;

 failed to properly use automated tools to track which versions of software were running and

 whether updates were available; failed to implement appropriate procedures to keep security

 current and address vulnerabilities, including failure to monitor expert websites and software

 vendors’ websites regularly for alerts about new vulnerabilities; and failed to encrypt or otherwise

 adequately protect Plaintiff’s and Class Members’ Private Information.

         54.    On information and belief, Defendant’s failure to protect and safeguard the Private

 Information of Plaintiff and Class Members resulted in the disclosure of such information to one

 or more third-parties (i.e., ShinyHunters and/or MajorNelson) without consent, in violation of




 12
   What customers should know about AT&T’s massive data breach, Moneywatch (April 2, 2024)
 https://www.cbsnews.com/news/att-data-breach-2024-cbs-news-explains/ (last visited April 5,
 2024).


                                                 19
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              20 of
                                                                 2353
                                                                    of PageID
                                                                       56     #: 20




 FTCA. Such disclosure was not necessary to carry out the purpose for which Defendant received

 the information, nor was it permitted by statute, regulation, or order.

          55.    Defendant’s violations of FTCA, as set forth above, were reckless or, at the very

 least, negligent.

          56.    On information and belief, Defendant also failed to implement and comply with

 cybersecurity industry standards. Defendant failed to meet the minimum standards of any of the

 following best practices and frameworks: CIS and NIST publications (including, without

 limitation, “Ransomware Risk Management: A Cybersecurity Framework Profile”), the NIST

 Cybersecurity Framework Version 1.1 (including without limitation PR.AC-1, PR.AC-3, PR.AC-

 4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1, PR.DS-1, PR.DS-5, PR.PT-1, PR.PT-3, DE.CM-1,

 DE.CM-4, DE.CM-7, DE.CM-8, and RS.CO-2), and CIS’s Critical Security Controls (CIS CSC),

 which are all established standards in reasonable cybersecurity readiness and response.

      D. The Private Information Accessed in the Date Breach is Highly Valuable

          57.    The Private Information of consumers is a valuable commodity and, consequently,

 a frequent intentional target of cybercriminals.

          58.    The value of Private Information is axiomatic, considering the value of “big data”

 in corporate America and the fact the consequences of cybercrimes include heavy criminal

 penalties. The risk-to-reward analysis illustrates that Private Information has considerable market

 value.

          59.    Indeed, the U.S. Attorney General confirmed in 2020 that “hackers” target

 consumers’ sensitive personal information because it “has economic value.”13




 13
   Attorney General William P. Barr Announces Indictment of Four Members of China’s Military
 for Hacking into Equifax, U.S. Dep’t of Justice (February 10, 2020), available at


                                                    20
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              21 of
                                                                 2453
                                                                    of PageID
                                                                       56     #: 21




           60.    Numerous sources cite “dark web” pricing for stolen Private Information.14

           61.    According to various sources, Private Information can be sold at prices ranging

 from $40.00 to $200.00 per record, bank details can be sold at prices ranging from $50.00 to

 $200.00 per record,15 and a stolen credit or debit card number can sell for $5.00 to $110.00. 16

           62.    In addition, criminals can purchase access to the entirety of a company’s breached

 database on the dark web, 17 and would expect a sale price of $999.00 to $4,995.00.18

           63.    Relatively basic information such as names, e-mail addresses, and phone numbers,

 have value to cybercriminals. In addition to practices such as “spamming” customers or launching

 “phishing” attacks using compromised names and e-mails, cybercriminals routinely combine this



 https://www.justice.gov/opa/speech/attorney-general-william-p-barr-announces-indictment-four-
 members-china-s-military (last visited February 27, 2024).
 14
      In pertinent part, Wikipedia defines the “dark web” as:
           World Wide Web content that exists on darknets: overlay networks that use the
           internet but require specific software, configurations, or authorizations to access.
           Through the dark web, private computer networks can communicate and conduct
           business anonymously without divulging identifying information, such as a user’s
           location. The dark web forms a small part of the deep web, the part of the web not
           indexed by web search engines, although sometimes the term deep web is
           mistakenly used to refer specifically to the dark web.
 15
   Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends
 (October 16, 2019), available at: https://www.digitaltrends.com/computing/personal- data-sold-
 on-the-darkweb-how-much-it-costs/ (last visited February 27, 2024).
 16
   Here’s How Much Your Personal Information Is Selling for on the Dark Web, Experian
 (December 6, 2017), available at: https://www.experian.com/blogs/ask-experian/heres-how-
 much-yourpersonal-information-is- selling-for-on-the-dark-web/ (last visited Jan. 31, 2024).
 17
        See,    e.g.,    In      the    Dark,      VPNOverview,      2019,      available     at:
 https://vpnoverview.com/privacy/anonymousbrowsing/in-the- dark/ (last visited February 27,
 2024); Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends,
 Oct.16, 2019, available at: https://www.digitaltrends.com/computing/personal- data-sold-on-the-
 darkweb-how-much-it-costs/ (last visited February 27, 2024).
 18
   In the Dark, VPNOverview (2019), available at: https://vpnoverview.com/privacy/anonymous-
 browsing/in-the-dark/ (last visited February 28, 2024).


                                                    21
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              22 of
                                                                 2553
                                                                    of PageID
                                                                       56     #: 22




 information with other compromised data to build a more complete profile of an individual. As

 reflected in recent reports, which warn that “[e]mail addresses are extremely valuable to threat

 actors who use them as part of their threat campaigns to compromise accounts and send phishing

 e-mails,” it is often such consumer profiling that enables cybercriminals to successfully carry out

 additional phishing attacks or social engineering attacks. 19

         64.    There is often a substantial time lag between when a harm occurs as the result of a

 breach and when the harm is discovered, as well as substantial lag time between when Private

 Information is compromised and when it is used. According to the U.S. Government

 Accountability Office,20 which performed a comprehensive analysis of data breaches:

                [L]aw enforcement officials told us that in some cases, stolen data
                may be held for up to a year or more before being used to commit
                identity theft. Further, once stolen data have been sold or posted on
                the Web, fraudulent use of that information may continue for years.
                As a result, studies that attempt to measure the harm resulting from
                data breaches cannot necessarily rule out all future harm.

         65.    In any event, once cybercriminals compromise Private Information, they often trade

 the information on the “cyber black market” for many years.

      E. The Data Breach was a Foreseeable Risk

         66.    It is well known that entities involved in the routine creation, collection,

 maintenance, and use of Private Information, are at a heightened risk of a cyberattack.




 19
      See Dark Web Price Index: The Cost of Email Data,                                 available at
 https://www.magicspam.com/blog/dark-web-price-index-the-cost-of-email-data/            (last visited
 February 27, 2024).
 20
   Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the
 Full Extent Is Unknown, U.S. Government Accountability Office (June 4, 2007), available at:
 https://www.gao.gov/products/gao-07-737 (last visited Feb. 27, 2024).


                                                  22
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              23 of
                                                                 2653
                                                                    of PageID
                                                                       56     #: 23




        67.     Indeed, AT&T had previously experienced a “leak” in sensitive data in January of

 2023, that affected 9 million consumers. 21

        68.     At all relevant times, AT&T’s susceptibility to a cyberattack was or reasonably

 should have been known and obvious to Defendant.

        69.     At all relevant times, AT&T was or should have been aware of the significant

 number of individuals whose Private Information AT&T created, collected, and stored and, thus,

 the significant number of individuals who would be harmed by unauthorized access to its systems.

        70.     At all relevant times, AT&T was or should have been aware that the Private

 Information of Plaintiff and Class Members was an attractive target for malicious actors.

        71.     At all relevant times, AT&T knew or reasonably should have known of the

 importance of safeguarding Private Information and the foreseeable consequences that would

 occur if their data security systems were breached, including, specifically, the significant costs that

 would be imposed on affected individuals as a result of the breach.

        72.     AT&T’s failure to safeguard Private Information is exacerbated by repeated

 warnings and alerts directed at protecting and securing sensitive data. Indeed, data breaches, such

 as the one experienced by AT&T have become so notorious that the FBI, U.S. Secret Service, and

 other authorities have issued warnings to potential targets so they are aware of, can prepare for

 and, hopefully, are able to ward off a potential attack.

        73.     As early as 2011, the FBI issued warnings regarding the advancement in

 cybercriminals’ ability to attack systems remotely and exploit them to obtain Private Information.

 This warning was not only a prediction of the general escalation of cybercrime, but also a clear


 21
   What customers should know about AT&T’s massive data breach, Moneywatch (April 2, 2024)
 https://www.cbsnews.com/news/att-data-breach-2024-cbs-news-explains/ (last visited April 5,
 2024).


                                                   23
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              24 of
                                                                 2753
                                                                    of PageID
                                                                       56     #: 24




 indication to entities such as AT&T of the impending risks associated with storing and handling

 sensitive data.22

         74.     In addition, trends in cybercrime have demonstrated an alarming increase in the

 frequency and sophistication of attacks. These attacks include, without limitation, attacks on the

 following entities: Microsoft (250 million records, December 2019), Wattpad (268 million records,

 June 2020), Facebook (267 million users, April 2020), Estee Lauder (440 million records, January

 2020), Whisper (900 million records, March 2020), and Advanced Info Service (8.3 billion

 records, May 2020). Thus, AT&T knew or should have known that cybercriminals would target

 the Private Information that it collected and maintained.

         75.     The continual increase in data breaches underscored the necessity for AT&T to

 implement advanced security measures, such as robust encryption, regular security audits, and

 comprehensive employee training on cybersecurity.

         76.     Based on the foregoing, AT&T knew or should have known that its data systems

 would be targeted by cybercriminals and had an obligation and duty to take all reasonable means

 to protect Private Information from attacks such as the Data Breach here.

         77.     Notwithstanding the common knowledge of, and the prevalence of public

 announcements and abundance of other publicly available resources with respect to, the imminent

 and serious threat of unauthorized access to Private Information, and despite its creation,

 collection, maintenance, and use of Private Information of millions of individuals, Defendant

 failed to use reasonable care in maintaining the privacy and security of Plaintiff’s and Class



 22
    Gordon M. Snow, Statement before the House Financial Service Committee, Subcommittee on
 Financial       Institutions   and    Consumer      Credit,     FBI      (Sept.     14,     2011),
 https://archives.fbi.gov/archives/news/testimony/cybersecurity-threats-to-the-financial-sector
 (last visited February 28, 2024).


                                                 24
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              25 of
                                                                 2853
                                                                    of PageID
                                                                       56     #: 25




 Members’ Private Information. Had Defendant implemented adequate security measures,

 cybercriminals never could have accessed Private Information for millions of Defendant’s

 customers and the Data Breach would have been prevented or, at a minimum, of a much smaller

 scope.



    F. The Data Breach Harmed and Will Continue to Harm the Class

          78.   Victims of data breaches are exposed to serious ramifications. Indeed, the reason

 why cybercriminals steal sensitive information is to monetize it.

          79.   Cybercriminals monetize stolen personal identification, health, and financial

 information by selling, on the black market, the spoils of their cyberattacks to identity thieves and

 other criminals to extort and harass victims or assume the victims’ identities to engage in illegal

 financial transactions under the victims’ names.

          80.   Victims of identity theft also routinely suffer embarrassment, harassment, or

 blackmail, in person or online, and/or experience financial losses (e.g., unauthorized account

 transactions and credit downgrades) resulting from, by way of example, fraudulently opened

 accounts or misuse of existing accounts.

          81.   The unencrypted Private Information of Plaintiff and Class members will end up

 (to the extent that it has not already ended up) for sale on the dark web, as that is the modus

 operandi of cybercriminals.

          82.   Given the type and scope of this targeted attack, the sophisticated cybercriminal

 activity, the volume of data compromised, and the sensitive type of Private Information involved

 in this Data Breach, entire batches of stolen information have undoubtedly been placed, or will be

 placed, on the black market/dark web for sale and purchase by criminals intending to utilize the




                                                  25
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              26 of
                                                                 2953
                                                                    of PageID
                                                                       56     #: 26




 Private Information for identity theft crimes, including opening financial and other accounts in the

 consumer’s name to make purchases or to launder money; filing of fraudulent tax returns; taking

 of loans or lines of credit; or filing of false unemployment or similar claims.

        83.     Unencrypted Private Information may also fall into the hands of other entities that

 will use the detailed Private Information for targeted marketing without the approval of Plaintiff

 and Class members.

        84.     As a result of the recognized risk of identity theft, when a data breach occurs and

 an individual is notified by a company that their Private Information was compromised, the

 reasonable person is expected to take steps and spend time to address the dangerous situation, learn

 the circumstances of the breach, and attempt to mitigate the risk of becoming a victim of identity

 theft or fraud. Failure to spend time taking such steps—including failure to constantly review

 accounts and credit reports—could expose the individual to greater financial harm.

        85.     Thus, due to the imminent risk of or completed identity theft, Plaintiff and Class

 Members must monitor their financial accounts for many years in an attempt to mitigate the risk

 of identity theft, and now face years of constant surveillance of their financial and personal records,

 other necessary monitoring, and loss of rights.

        86.     The retail cost of credit or identity theft monitoring is expected to be approximately

 $200 per year per Class Member. This is a reasonable and necessary cost to monitor and protect

 Plaintiff and Class Members from the risk of identity theft resulting from Defendant’s Data Breach.

 This is a future cost for, at a minimum, five years. Plaintiff and Class Members would not be

 caused to bear this expense but for Defendant’s failure to safeguard their Private Information.

        87.     Plaintiff and Class members have spent and will continue to spend, time on various

 prudent actions, such as changing passwords and re-securing their own computer systems.




                                                   26
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              27 of
                                                                 3053
                                                                    of PageID
                                                                       56     #: 27




        88.     Defendant’s failure to properly safeguard Plaintiff’s and Class Members’ Private

 Information from cybercriminals has caused and will continue to cause substantial risk of future

 harm (such as identity theft) that is continuing and imminent in light of the many different avenues

 of fraud and identity theft utilized by third-party cybercriminals to profit off such highly sensitive

 information.


                                     CLASS ALLEGATIONS

        89.     Plaintiff brings this class action individually on behalf of herself and on behalf of

 all members of the following classes and subclasses (collectively, the “Classes”) of similarly

 situated persons pursuant to Federal Rule of Civil Procedure 23. As described below, this action

 satisfies the numerosity, commonality, typicality, adequacy, predominance, and superiority

 requirements of Rule 23(a) and 23(b)(3) (as well as the requirements for certification of one or

 more issue classes under Rule 23(c)(4)).

        90.     Accordingly, Plaintiff seeks certification under Federal Rule of Civil Procedure 23

 of the following Class and Subclass:

       Nationwide Class: All individuals residing in the United States whose Private Information

        was exposed, accessed, and/or acquired as a result of the Data Breach, including all who

        were sent a notice of the Data Breach.

       Texas Subclass: All individuals residing in the State of Texas whose Private Information

        was exposed, accessed and/or acquired as a result of the Data Breach, including all who

        were sent a notice of the Data Breach.

        91.     Excluded from the Classes are (1) Defendant and its affiliates, parents, subsidiaries,

 officers, agents, and directors, any entity in which Defendant has a controlling interest; (2) all

 individuals who make a timely election to be excluded from this proceeding using the correct



                                                  27
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              28 of
                                                                 3153
                                                                    of PageID
                                                                       56     #: 28




 protocol for opting out; (3) those persons who have suffered personal injuries as a result of the

 facts alleged herein (4) any and all federal, state, or local governments, including but not limited

 to its departments, agencies, divisions, bureaus, boards, sections, groups, counsel, and/or

 subdivisions; and (5) all judges presiding over this matter or assigned to hear any aspect of this

 litigation, along with judicial clerks and staff, and immediate family members.

         92.      Plaintiff reserves the right to modify or amend the foregoing Class and Subclass

 definitions before the Court determines whether certification is appropriate.

        93.       This action has been brought and may properly be maintained as a class action

 under Federal Rule of Civil Procedure 23 because there is a well-defined community of interest in

 the litigation and membership in the proposed Classes is readily ascertainable.

        94.       Numerosity (Federal Rule of Civil Procedure 23(a)(1)): A class action is the only

 available method for the fair and efficient adjudication of this controversy. The members of each

 Class are so numerous and geographically dispersed that individual joinder of all Class Members

 is neither practicable nor possible. Plaintiff is informed and believes and, on that basis, alleges that

 the total number of Class Members is in the millions of individuals. Membership in the Class will

 be determined by analysis of Defendant’s records.

        95.       Commonality (Federal Rule of Civil Procedure 23(a)(2) and (b)(3)): Consistent

 with Rule 23(a)(2) and with Rule 23(b)(3)’s predominance requirement, Plaintiff and Class

 Members share a community of interest in that there are numerous common questions and issues

 of law and fact which predominate over any questions and issues solely affecting individual

 members, including, but not necessarily limited to:

               a. Whether Defendant owed a duty to Plaintiff and Class Members to safeguard their

                  Private Information;




                                                   28
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              29 of
                                                                 3253
                                                                    of PageID
                                                                       56     #: 29




          b. Whether Defendant owed a duty to provide timely and accurate notice of the Data

             Breach to Plaintiff and the Class Members;

          c. Whether Defendant unlawfully used, maintained, lost, or disclosed Plaintiff’s and

             Class Members’ Private Information;

          d. Whether Defendant was negligent in maintaining, protecting, and securing Private

             Information;

          e. Whether Defendant was negligent in failing to adequately monitor and audit the

             data security systems;

          f. Whether Defendant breached its duty to Plaintiff and Class Members to safeguard

             their Private Information;

          g. Whether Defendant failed to notify Plaintiff and Class Members as soon as

             practicable and without delay after the data breach was discovered;

          h. Whether Defendant failed to take reasonable and prudent security measures;

          i. Whether Defendant adequately addressed and fixed the vulnerabilities which

             permitted the Data Breach to occur;

          j. Whether Defendant’s security measures to protect its systems were reasonable in

             light of known legal requirements;

          k. Whether Defendant’s data security systems prior to and during the Data Breach

             were consistent with industry standards;

          l. Whether Defendant violated state consumer protection and state information

             privacy laws in connection with the actions described herein;

          m. Whether Defendant violated federal statutes including, but not limited to, FTCA;




                                             29
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              30 of
                                                                 3353
                                                                    of PageID
                                                                       56     #: 30




              n. Whether Defendant engaged in unfair, unlawful, or deceptive practices by failing

                 to safeguard Plaintiff’s and Class Members’ Private Information;

              o. Whether Defendant knew or should have known that its data security systems and

                 monitoring processes were deficient;

              p. Which security procedures and notification procedures Defendant should be

                 required to implement;

              q. Whether Defendant was unjustly enriched by unlawfully retaining a benefit

                 conferred upon them by Plaintiff and Class Members;

              r. Whether Defendant’s conduct, including its alleged failure to act, resulted in or was

                 the proximate cause of the Data Breach and/or loss of Private Information of

                 Plaintiff and Class Members;

              s. Whether Plaintiff and Class Members were injured and suffered damages or other

                 losses because of Defendant’s failure to reasonably protect their Private

                 Information; and

              t. Whether Plaintiff and Class Members are entitled to damages, civil penalties,

                 punitive damages, treble damages, and/or injunctive relief.

        96.      In the alternative, Plaintiff seeks certification under Rule 23(c)(4) with respect to

 one or more of the above issues or such other issues as may be identified in the future.

        97.      Typicality (Federal Rule of Civil Procedure 23(a)(3)): Plaintiff’s claims are

 typical of the claims of the Classes. Plaintiff’s and Class Members’ Private Information was in

 Defendant’s possession at the time of the Data Breach and was compromised as a result of the

 Data Breach. Plaintiff sustained damages, akin to damages sustained by Class Members, arising




                                                  30
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              31 of
                                                                 3453
                                                                    of PageID
                                                                       56     #: 31




 out of and caused by Defendant’s common course of conduct in violation of laws and standards,

 as alleged herein.

        98.     Adequacy (Federal Rule of Civil Procedure 23(a)(4)): Consistent with Rule

 23(a)(4), Plaintiff is an adequate representative of each of the Classes because Plaintiff is a member

 of the Classes and is committed to pursuing this matter against Defendant to obtain relief for the

 Classes. Plaintiff is not subject to any individual defense unique from those conceivably applicable

 to other Class Members or the Classes in their entirety. Plaintiff anticipates no management

 difficulties in this litigation. Plaintiff has no conflicts of interest with the Classes. Plaintiff’s

 Counsel is competent and experienced in litigating class actions, including extensive experience

 in data breach and privacy litigation. Plaintiff intends to vigorously prosecute this case and will

 fairly and adequately protect the Classes’ interests.

        99.     Predominance and Superiority (Federal Rule of Civil Procedure 23(b)(3)):

 Consistent with Rule 23(b)(3), a class action is superior to any other available means for the fair

 and efficient adjudication of this controversy, and no unusual difficulties are likely to be

 encountered in the management of this class action. Common issues in this litigation predominate

 over individual issues. The issues discussed above in regard to commonality are more important

 to the resolution of this litigation than any individual issues. The purpose of the class action

 mechanism is to permit litigation against wrongdoers even when damages to individual plaintiffs

 may not be sufficient to justify individual litigation. Here, the damages suffered by Plaintiff and

 the Class Members are relatively small compared to the burden and expense required to

 individually litigate their claims against Defendant, and thus, individual litigation to redress

 Defendant’s wrongful conduct would be impracticable. Individual litigation by each Class

 Member would also burden and unreasonably strain the court system, and would result in undue




                                                  31
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              32 of
                                                                 3553
                                                                    of PageID
                                                                       56     #: 32




 delay. Individual litigation creates the potential for inconsistent or contradictory judgments and

 increases the delay and expense to all parties and the court system. By contrast, the class action

 device presents far fewer management difficulties and provides the benefits of a single

 adjudication, economies of scale, and comprehensive supervision by a single court.

        100.    Ascertainability: The Class and Subclasses are defined by reference to objective

 criteria, and there is an administratively feasible mechanism to determine who fits within the class.

 Defendant has access to names in combination with addresses and/or e-mail addresses of Class

 Members affected by the Data Breach.

        101.    Injunctive and Declaratory Relief: This class action is also appropriate for

 certification because Defendant has acted or refused to act on grounds generally applicable to Class

 Members, thereby requiring the Court’s imposition of uniform relief to ensure compatible

 standards of conduct toward the Class Members and making final injunctive relief appropriate

 concerning the Classes in their entireties. Defendant’s policies and practices challenged herein

 apply to and affect Class Members uniformly. Plaintiff’s challenge of these policies and

 procedures hinges on Defendant’s conduct concerning the Classes in their entirety, not on facts or

 law applicable only to Plaintiff. Unless a Class-wide injunction is issued, Defendant may continue

 failing to properly secure Class Members’ Private Information, and Defendant may continue to act

 unlawfully, as set forth in this Complaint. Further, Defendant has acted or refused to act on grounds

 generally applicable to the Classes and, accordingly, final injunctive or corresponding declaratory

 relief with regard to the Class Members as a whole is appropriate under F.R.C.P. Rule 23(b)(2).


                                      CAUSES OF ACTION




                                                  32
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              33 of
                                                                 3653
                                                                    of PageID
                                                                       56     #: 33




                                          COUNT ONE
                                            Negligence
                              (On Behalf of Plaintiff and the Classes)

        102.    Plaintiff restates, re-alleges, and incorporates by reference each and every

 allegation of the preceding paragraphs of this Complaint as though fully set forth herein.

        103.    Defendant gathered and stored the Private Information of Plaintiff and Class

 Members as part of its business, which affects commerce.

        104.    The Private Information of Plaintiff and Class Members was entrusted to Defendant

 with the understanding that the information would be safeguarded.

        105.    Defendant had full knowledge of the sensitivity of the Private Information and the

 types of harm that Plaintiff and Class Members could and would suffer if their Private Information

 were wrongfully disclosed.

        106.    It was reasonably foreseeable to Defendant that Plaintiff and the Class Members

 would suffer such harms in the event of a cyber-attack such as the Data Breach here.

        107.    Defendant owed a duty to Plaintiff and Class Members to exercise reasonable care

 in obtaining, retaining, securing, safeguarding, deleting, and protecting Private Information in

 Defendant’s possession from being compromised, lost, stolen, accessed, or misused by

 unauthorized persons.

        108.    Defendant owed a duty to Plaintiff and Class Members to provide reasonable

 security, consistent with industry standards and requirements, and to ensure that its computer

 systems, networks, and protocols, and the personnel responsible for them, adequately protected

 Plaintiff’s and Class Members’ Private Information.

        109.    Defendant also had a special relationship with Plaintiff and each of the Class

 Members. That special relationship arose because Defendant was entrusted with their confidential




                                                 33
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              34 of
                                                                 3753
                                                                    of PageID
                                                                       56     #: 34




 Private Information as a necessary part of the services rendered or goods sold by Defendant. That

 special relationship provides an additional basis on which Defendant owed a duty to Plaintiff and

 each of the Class Members to protect against unauthorized access to, theft of, and/or disclosure of

 their Private Information.

        110.    Defendant owed a duty to Plaintiff and Class Members to design, maintain, and test

 their computer systems, servers, and networks to ensure that all Private Information in their

 possession or control was adequately secured and protected.

        111.    Defendant owed a duty to Plaintiff and Class Members to create and implement

 reasonable data security practices and procedures to protect all Private Information in their

 possession or control, including not sharing information with other entities who maintain sub-

 standard data security systems.

        112.    Defendant owed a duty to Plaintiff and Class Members to implement and maintain

 processes that would immediately detect a breach of their data security systems in a timely manner.

        113.    Defendant owed a duty to Plaintiff and Class Members to act upon data security

 warnings and alerts in a timely fashion.

        114.    Defendant owed a duty to Plaintiff and Class Members to disclose in timely fashion

 if their computer systems and data security practices were inadequate in any way to safeguard

 individuals’ Private Information, including from theft, because such an inadequacy would be a

 material fact in the decision to entrust Private Information to Defendant.

        115.    Defendant owed a duty to Plaintiff and Class Members to encrypt and/or more

 reliably encrypt Plaintiff’s and Class Members’ Private Information.

        116.    Defendant owed a duty to Plaintiff and Class Members to monitor user behavior

 and activity to identify possible threats to the confidentiality and integrity of Private Information.




                                                  34
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              35 of
                                                                 3853
                                                                    of PageID
                                                                       56     #: 35




        117.    Defendant owed a duty to Plaintiff and Class Members to promptly and adequately

 notify Plaintiff and Class Members of the Data Breach, but failed to do so.

        118.    Defendant had and continues to have duties to adequately disclose that Plaintiff’s

 and Class Members’ Private Information within their possession was compromised, how it was

 compromised, and precisely the types of data that were compromised and when. Such notice was

 and remains necessary to allow Plaintiff and the Class Members to take steps to prevent, mitigate,

 and repair any identity theft and the fraudulent use of their Private Information by third parties.

        119.    Plaintiff and the Class Members were the foreseeable and probable victims of any

 inadequate security practices and procedures. Defendant knew or should have known of the

 inherent risks in creating, collecting, and storing Private Information, the critical importance of

 providing adequate security of that Private Information, and the necessity for encrypting Private

 Information stored on their systems.

        120.    Plaintiff and the Class Members had no ability to protect their Private Information

 that was in, and possibly remains in, Defendant’s possession.

        121.    Defendant was in a position to protect against the harm suffered by Plaintiff and

 the Class Members as a result of the Data Breach.

        122.    Defendant’s duties extended to protecting Plaintiff and the Class Members from the

 risk of foreseeable criminal conduct of third parties, which have been recognized in situations

 where the actor’s own conduct or misconduct exposes another to the risk or defeats protections put

 in place to guard against the risk, or where the parties are in a special relationship. See Restatement

 (Second) of Torts § 302B. Numerous courts and legislatures have also recognized the existence of

 a specific duty to reasonably safeguard personal information.




                                                   35
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              36 of
                                                                 3953
                                                                    of PageID
                                                                       56     #: 36




        123.    Defendant failed to perform its duties by failing to reasonably and adequately

 secure their systems (and the Private Information of Plaintiff and the Class Members) against the

 Data Breach.

        124.    But for Defendant’s wrongful and negligent breaches of duties owed to Plaintiff

 and the Class Members, Plaintiff’s and Class Members’ Private Information would not have been

 exposed to the Data Breach and compromised.

        125.    There is a close causal connection between Defendant’s failure to implement

 security measures to protect Plaintiff’s and Class Members’ Private Information, and the harm, or

 risk of imminent harm, suffered by Plaintiff and the Class Members.

        126.    As a direct and proximate result of Defendant’s negligence, Plaintiff and the Class

 Members have suffered and will suffer injury to their privacy, the value of their Private

 Information, and other forms of injury and/or harm, including, but not limited to, emotional

 distress, loss of privacy, anxiety, annoyance, nuisance, and other economic and non-economic

 losses including nominal damages.

        127.    Plaintiff and Class Members are entitled to compensatory and consequential

 damages suffered as a result of the Data Breach.

        128.    Defendant’s negligent conduct is ongoing, in that Plaintiff’s and Class Members’

 Private Information is being maintained in an unsafe and insecure manner.

        129.    Plaintiff and Class Members are entitled to injunctive relief requiring Defendant to:

 (a) strengthen its data security systems and monitoring procedures; (b) submit to future annual

 audits of those systems and monitoring procedures; and (c) continue to provide adequate credit

 monitoring to Plaintiff and all Class Members.




                                                  36
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              37 of
                                                                 4053
                                                                    of PageID
                                                                       56     #: 37




                                          COUNT TWO
                                        Negligence Per Se
                               (On Behalf of Plaintiff and the Classes)

           130.   Plaintiff restates, re-alleges, and incorporates by reference each and every

 allegation of the preceding paragraphs of this Complaint as though fully set forth herein.

           131.   Defendant had duties arising under the FTCA, and state data security and consumer

 protection statutes such as those outlined herein to protect Plaintiff’s and Class Members’ Private

 Information.

           132.   On information and belief, Defendant breached its duties, pursuant to the FTCA,

 and other applicable standards by failing to use reasonable measures to protect Plaintiff’s and Class

 Members’ Private Information..

           133.   Defendant’s violation of the FTCA, and similar state statutes constitutes negligence

 per se.

           134.   Plaintiff and Class Members are consumers within the class of persons that the

 FTCA were intended to protect.

           135.   The harm that has occurred is the type of harm the FTCA were intended to guard

 against.

           136.   The FTC has pursued enforcement actions against businesses that, as a result of

 their failure to employ reasonable data security measures and avoid unfair and deceptive practices,

 caused the same harm as that suffered by Plaintiff and the Class Members.

           137.   Plaintiff and Class Members were foreseeable victims of Defendant’s violations of

 the FTCA, as well as state data security and consumer protection statutes. Defendant knew or

 should have known that their failure to implement reasonable data security measures to protect




                                                   37
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              38 of
                                                                 4153
                                                                    of PageID
                                                                       56     #: 38




 and safeguard Plaintiff’s and Class Members’ Private Information would cause damage to Plaintiff

 and the Class Members.

        138.   But for Defendant’s wrongful and negligent breaches of duties owed to Plaintiff

 and the Class Members, Plaintiff’s and Class Members’ Private Information would not have been

 exposed to the Data Breach and potentially compromised.

        139.   There is a close causal connection between Defendant’s failure to implement

 security measures to protect Plaintiff’s and Class Members’ Private Information, and the harm, or

 risk of imminent harm, suffered by Plaintiff and the Class Members.

        140.   As a direct and proximate result of Defendant’s negligence, Plaintiff and the Class

 Members have suffered and will suffer injury to their privacy, the value of their Private

 Information, and other forms of injury and/or harm, including, but not limited to, emotional

 distress, loss of privacy, anxiety, annoyance, nuisance, and other economic and non-economic

 losses including nominal damages.

        141.   Plaintiff and Class Members are entitled to compensatory and consequential

 damages suffered as a result of the Data Breach.

        142.   Defendant’s negligent conduct is ongoing, in that Plaintiff’s and Class Members’

 Private Information is being maintained in an unsafe and insecure manner.

        143.   Plaintiff and Class Members are entitled to injunctive relief requiring Defendant to:

 (a) strengthen their data security systems and monitoring procedures; (b) submit to future annual

 audits of those systems and monitoring procedures; and (c) continue to provide adequate credit

 monitoring to Plaintiff and all Class Members.

                                       COUNT THREE
                                  Negligent Failure to Warn
                             (On Behalf of Plaintiff and the Classes)




                                                  38
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              39 of
                                                                 4253
                                                                    of PageID
                                                                       56     #: 39




         144.   Plaintiff restates, re-alleges, and incorporates by reference each and every

 allegation of the preceding paragraphs of this Complaint as though fully set forth herein.

         145.   Upon information and belief, Defendant was or should have been aware for a

 substantial period of time that their cybersecurity systems and networks were inadequate and prone

 to attack.

         146.   Upon information and belief, Defendant knew or should have known of its

 cybersecurity failures including, but not limited to, failing to heed credible security warnings;

 failing to maintain adequate patch management policies and procedures; failing to detect alerts in

 regard to vulnerabilities affecting its systems; failing to properly update and patch third-party

 software, update software regularly, implement third-party patches when issued, and prioritize

 patches by the severity of the threat; failing to properly use automated tools to track which versions

 of software were running and whether updates were available; and failing to implement appropriate

 procedures to keep security current and address vulnerabilities, including to monitor expert

 websites and software vendors’ websites regularly for alerts about new vulnerabilities.

         147.   Nevertheless, Defendant failed to warn Plaintiff and Class Members of the known

 cybersecurity vulnerabilities, failed to effectively remedy the cybersecurity flaws and problems in

 their systems and networks, failed to warn Plaintiff and Class Members of likely risks caused by

 Defendant’s failure to remedy such cybersecurity flaws, and failed to provide prompt notice to

 Plaintiff and Class Members that the secure information systems had been breached by

 unauthorized persons during the Cyberattack.

         148.   As a direct and proximate result of Defendant’s negligent failure to warn, Plaintiff

 and the Class Members have suffered and will suffer injury.




                                                  39
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              40 of
                                                                 4353
                                                                    of PageID
                                                                       56     #: 40




                                         COUNT FOUR
                                   Breach of Implied Contract
                              (On Behalf of Plaintiff and the Classes)

        149.    Plaintiff restates, re-alleges, and incorporates by reference each and every

 allegation of the preceding paragraphs of this Complaint as though fully set forth herein.

        150.    Plaintiff and Class Members were required deliver their Private Information to

 Defendant as part of the process of obtaining products and/or services from Defendant. Plaintiff

 and Class Members paid money, or money was paid on their behalf, to Defendant in exchange for

 said products and/or services.

        151.    Defendant solicited, offered, and invited Class Members to provide their Private

 Information as part of Defendant’s regular business practices. Plaintiff and Class Members

 accepted Defendant’s offers and provided their Private Information to Defendant.

        152.    Defendant accepted possession of Plaintiff’s and Class Members’ Private

 Information for the purpose of providing services or products to Plaintiff and Class Members.

        153.    Plaintiff and the Class entrusted their Private Information to Defendant. In so doing,

 Plaintiff and the Class Members entered into implied contracts with Defendant by which

 Defendant agreed to safeguard and protect such information, to keep such information secure and

 confidential, and to timely and accurately notify Plaintiff and the Class Members if their data had

 been breached and compromised or stolen.

        154.    In entering into such implied contracts, Plaintiff and Class Members reasonably

 believed and expected that Defendant’s data security practices complied with relevant laws and

 regulations and were consistent with industry standards.

        155.    Implicit in the agreement between Plaintiff and Class Members and the Defendant

 to provide Private Information, was the latter’s obligation to: (a) use such Private Information only




                                                  40
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              41 of
                                                                 4453
                                                                    of PageID
                                                                       56     #: 41




 for business purposes; (b) take reasonable steps to safeguard the Private Information; (c) prevent

 unauthorized disclosures of the Private Information; (d) provide Plaintiff and Class Members with

 prompt and sufficient notice of any and all unauthorized access and/or theft of their Private

 Information; (e) reasonably safeguard and protect the Private Information of Plaintiff and Class

 Members from unauthorized disclosure or uses, (f) retain the Private Information only under

 conditions that kept such information secure and confidential.

          156.   The mutual understanding and intent of Plaintiff and Class Members on the one

 hand, and Defendant, on the other, is demonstrated by their conduct and course of dealing.

          157.   Defendant breached its contractual obligations in regard to the protection of

 Plaintiff’s and Class Members’ Private Information, as described in detail herein.

          158.   Defendant knew that if it were to breach the implied contract with its customers,

 Plaintiff and Class Members would be harmed.

          159.   As a direct and proximate result of Defendant’s breach of contract, Plaintiff and the

 Class Members have suffered and/or will suffer injury.

                                         COUNT FIVE
                                      Unjust Enrichment
                              (On Behalf of Plaintiff and the Classes)

          160.   Plaintiff restates, re-alleges, and incorporates by reference each and every

 allegation of the preceding paragraphs of this Complaint as though fully set forth herein.

          161.   This count is pleaded in the alternative to the breach of implied contract claim

 above.

          162.   Plaintiff and Class Members conferred a monetary benefit on Defendant in

 connection with obtaining its products and services, specifically providing Defendant directly or

 indirectly with their Private Information. In exchange, Plaintiff and Class Members should have




                                                  41
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              42 of
                                                                 4553
                                                                    of PageID
                                                                       56     #: 42




 received from Defendant services or products that were the subject of the transaction, and should

 have had their Private Information protected with adequate data security.

        163.    Defendant knew that Plaintiff and Class Members conferred a benefit upon them

 and accepted and retained that benefit by accepting and retaining the Private Information entrusted

 to them. Defendant profited from Plaintiff’s and Class members’ retained data and the use of

 Plaintiff’s and Class Members’ Private Information for business purposes.

        164.    Defendant failed to take action and update their systems to secure Plaintiff’s and

 Class Members’ Private Information and, therefore, did not fully compensate Plaintiff or Class

 Members for the value that their Private Information provided.

        165.    Defendant acquired Plaintiff’s and Class Members’ Private Information through

 inequitable record retention as they failed to disclose the inadequate data security practices

 previously alleged.

        166.    Had Plaintiff and Class Members known that Defendant would not use adequate

 data security practices, procedures, and protocols to adequately monitor, supervise, and secure

 their Private Information, or vendors that house their Private Information, they would not have

 entrusted their Private Information to Defendant.

        167.    Under the circumstances, it would be unjust for Defendant to be permitted to retain

 any of the benefits that Plaintiff and Class Members conferred upon it.

        168.    As a direct and proximate result of Defendant’s conduct, Plaintiff and the Class

 Members have suffered and will suffer injury.

        169.    Plaintiff and Class Members are entitled to restitution and/or damages from

 Defendant and/or an order proportionally disgorging all profits, benefits, and other compensation

 obtained by Defendant as a result of its wrongful conduct, as well as the return of their sensitive




                                                 42
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              43 of
                                                                 4653
                                                                    of PageID
                                                                       56     #: 43




 Private Information and/or confirmation that it is secure. This can be accomplished by establishing

 a constructive trust from which the Plaintiff and Class Members may seek restitution or

 compensation.

        170.     Plaintiff and Class Members may not have an adequate remedy at law against

 Defendant and, accordingly, plead this count in addition or as an alternative to the other counts

 plead herein.

                                          COUNT SIX
                                     Declaratory Judgment
                              (On Behalf of Plaintiff and the Classes)

        171.     Plaintiff restate, re-allege, and incorporate by reference each and every allegation

 of the preceding paragraphs of this Complaint as though fully set forth herein.

        172.     Under the Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq., this Court is

 authorized to enter a judgment declaring the rights and legal relations of the parties and to grant

 further necessary relief. Furthermore, the Court has broad authority to restrain acts, such as here,

 that are tortious and violate the terms of the federal and state statutes described in this Complaint.

        173.     An actual controversy has arisen in the wake of the Data Breach regarding

 Plaintiff’s and Class Members’ Private Information and whether Defendant is currently

 maintaining data security measures adequate to protect Plaintiff and Class Members from further

 data breaches that compromise their Private Information. Plaintiff alleges that Defendant’s data

 security measures remain inadequate. In addition, Plaintiff continues to suffer injuries as result of

 the exposure of their Private Information and remain at imminent risk that further compromises of

 their Private Information will occur in the future.

        174.     Pursuant to its authority under the Declaratory Judgment Act, this Court should

 enter a judgment declaring, among other things, the following:




                                                  43
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              44 of
                                                                 4753
                                                                    of PageID
                                                                       56     #: 44




            a. Defendant owes a legal duty to secure Plaintiff’s and Class Members’ Private

                Information, select vendors who handle Private Information that will adequately

                safeguard that information, and to timely and adequately notify impacted

                individuals of a data breach, and

            b. Defendant continues to breach this legal duty by failing to employ reasonable

                measures to secure Private Information in its possession.

        175.    Pursuant to its authority under the Declaratory Judgment Act, this Court should

 enter a judgment awarding Plaintiff and the Classes equitable, injunctive, and declaratory relief as

 may be appropriate to protect the interests of Plaintiff and Class Members, including but not

 limited to an Order:

            A. enjoining Defendant from engaging in the wrongful and unlawful conduct

                complained of herein pertaining to the misuse, failure to protect, and/or disclosure

                of Plaintiff’s and Class Members’ Private Information;

            B. requiring Defendant to implement appropriate security protocols designed to

                protect the confidentiality and integrity of Private Information, including through:

                        i.    utilization of appropriate methods, procedures, and policies with respect

                              to collection, storage, and use of Private Information;

                        ii.   encryption of all data collected through the course of business in

                              accordance with applicable regulations, industry standards, and federal,

                              state, and local laws;

                     iii.     monitoring of ingress and egress of all network traffic;




                                                       44
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              45 of
                                                                 4853
                                                                    of PageID
                                                                       56     #: 45




                  iv.    engaging independent third-party auditors and internal personnel to run

                         automated security monitoring, simulated attached, penetration tests,

                         and audits on Defendant’s systems;

                   v.    segmenting of data by creation of appropriate firewalls and access

                         controls; and

                  vi.    establishing an appropriate and/or supplementing their existing

                         information security training programs;

          C. compelling Defendant to issue prompt, complete, specific, and accurate disclosures

             to Plaintiff and Class Members, with respect to all Private Information

             compromised as the result of the Data Breach;

          D. requiring Defendant to meaningfully educate all Class Members about the threats

             they face as a result of the loss of their Private Information to third parties, as well

             as the steps affected individuals must take to protect themselves;

          E. compelling Defendant to facilitate, maintain, and/or pay for credit monitoring

             services for Plaintiff and the Classes, for a period not less than five years;

          F. requiring Defendant to implement, maintain, regularly review, and revise as

             necessary a threat management program designed to appropriately monitor

             Defendant’s information networks for threats, both internal and external, and assess

             whether monitoring tools are appropriately configured, tested, and updated; and

          G. appointing a qualified and independent third-party assessor to conduct an

             attestation on an annual basis, for a period of ten years, to evaluate Defendant’s

             compliance with the terms of the Court’s final judgments, to provide such report to




                                               45
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              46 of
                                                                 4953
                                                                    of PageID
                                                                       56     #: 46




                the Court and counsel for the Class, and to report any deficiencies with compliance

                with the Court’s judgment.

        176.    If an injunction is not issued, Plaintiff and Class Members will suffer irreparable

 injury, and lack an adequate legal remedy, in the event of another data breach at, or implicating,

 Defendant. The risk of another such breach is real, immediate, and substantial. If another breach

 occurs, Plaintiff and Class Members will not have an adequate remedy at law because many of the

 resulting injuries are not readily quantified and they will be forced to bring multiple lawsuits to

 rectify the same conduct.

        177.    The hardship to Plaintiff and Class Members if an injunction is not issued exceeds

 the hardship to Defendant if an injunction is issued. Plaintiff and Class Members will likely be

 subjected to substantial identity theft and other damage. On the other hand, the cost to Defendant

 of complying with an injunction by employing reasonable prospective data security measures is

 relatively minimal, and Defendant has a pre-existing legal obligation to employ such measures.

        178.    Issuance of the requested injunction will not disserve the public interest. In contrast,

 such an injunction would benefit the public by preventing another data breach at or by Defendant,

 thus eliminating the additional injuries that would result to Plaintiff and Class Members whose

 confidential information would be further compromised.

                                      COUNT SEVEN
           Violation of Texas Deceptive Trade Practices-Consumer Protection Act
                          Texas Bus. & Com. Code §§ 17.41, et seq.
                        (On Behalf of Plaintiff and the Texas Subclass)

        179.    Plaintiff restates, re-alleges, and incorporates by reference each and every

 allegation of the preceding paragraphs of this Complaint as though fully set forth herein.

        180.    This Count is brought on behalf of Plaintiff and the Subclass.




                                                  46
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              47 of
                                                                 5053
                                                                    of PageID
                                                                       56     #: 47




        181.   Plaintiff and the Subclass Members are “consumers” as defined by the Texas Trade

 Practices-Consumer Protection Act.

        182.   Defendant is a “person” as defined by the Texas Trade Practices-Consumer

 Protection Act.

        183.   Defendant advertised, offered, and/or sold goods and/or services in Texas and

 engaged in trade or commerce directly or indirectly affecting the people of Texas, as defined by

 Texas Trade Practices-Consumer Protection Act.

        184.   Defendant engaged in false, misleading, or deceptive acts and practices in violation

 of the Texas Trade Practices-Consumer Protection Act including, but not limited to:

            a. Representing that their goods and services have characteristics, uses, and benefits

               that they do not have;

            b. Representing that their goods and services are of a particular standard or quality if

               they are of another;

            c. Making a representation or statement of fact material to the transaction such that a

               person reasonably believes the represented or suggested state of affairs to be other

               than it actually is; and

            d. Failing to reveal facts that are material to the transaction in light of representations

               of fact made in a positive matter.

        185.   Defendant’s false, misleading, or deceptive practices include:

            a. Failing to implement and maintain reasonable security and privacy measures to

               protect Plaintiff’s and Subclass Members’ Private Information, which was a direct

               and proximate cause of the Data Breach;




                                                  47
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              48 of
                                                                 5153
                                                                    of PageID
                                                                       56     #: 48




           b. Failing to identify foreseeable security and privacy risks, remediate identified

               security and privacy risks, and adequately improve security and privacy measures

               following previous cybersecurity incidents, which was a direct and proximate cause

               of the Data Breach;

           c. Failing to comply with common law and statutory duties pertaining to the security

               and privacy of Plaintiff’s and the Subclass Members’ Private Information,

               including duties imposed by Texas’ data security statute, Tex. Bus. & Com. Code

               § 521.051, et seq., and the FTCA, which was a direct and proximate cause of the

               Data Breach;

           d. Misrepresenting that they would protect the privacy and confidentiality of

               Plaintiff’s and the Subclass Members’ Private Information, including by

               implementing and maintaining reasonable security measures;

           e. Misrepresenting that Defendant would comply with common law and statutory

               duties pertaining to the security and privacy of Plaintiff’s and Subclass Members’

               Private Information, including duties imposed by the FTCA;

           f. Omitting, suppressing, and concealing the material fact that they did not reasonably

               or adequately secure Plaintiff’s and Subclass Members’ Private Information; and

           g. Omitting, suppressing, and concealing the material fact that Defendant did not

               comply with common law and statutory duties pertaining to the security and privacy

               of Plaintiff’s and the Subclass Members’ Private Information, including duties

               imposed by the FTCA.

        186.   Defendant’s representations, such as those contained in AT&T’s Privacy Notice

 quoted above, and their omissions, were material because they were likely to deceive reasonable




                                               48
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              49 of
                                                                 5253
                                                                    of PageID
                                                                       56     #: 49




 consumers about the adequacy of their data security and ability to protect the confidentiality of

 consumers’ Private Information.

        187.    The above false, misleading, or deceptive practices were unconscionable, unfair,

 immoral, unethical, oppressive, and unscrupulous. These acts caused substantial injury to Subclass

 Members that they could not reasonably avoid; this substantial injury outweighed any benefits to

 consumers.

        188.    Defendant intended to mislead Plaintiff and the Subclass Members and induce them

 to engage in trade and commerce with Defendant and provide their Private Information to

 Defendant in reliance on Defendant’s misrepresentations and omissions.

        189.    As a direct and proximate result of Defendant’s false, misleading, or deceptive

 practices, Plaintiff and the Subclass Members have suffered and will continue to suffer injury,

 ascertainable losses of money or property, and monetary and non-monetary damages, including

 losses from fraud and identity theft; costs for credit monitoring and identity protection services;

 time and expenses related to monitoring their financial accounts for fraudulent activity; loss of

 value of their Private Information; and an increased, imminent risk of fraud and identity theft.

        190.    Accordingly, Plaintiff and the Subclass Members seek all monetary and non-

 monetary relief allowed by law, including declaratory judgment, actual damages, attorney’s fees

 and costs under the Texas Trade Practices-Consumer Protection Act.


                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, individually and on behalf of all other members of the proposed

 Class and Subclass, respectfully request that the Court enter judgment in Plaintiff’s favor and

 against Defendant as follows:




                                                 49
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              50 of
                                                                 5353
                                                                    of PageID
                                                                       56     #: 50




        A.      Declaring, adjudging, and decreeing that this action is a proper class action, and

 certifying each of the proposed Classes and/or any appropriate Subclasses pursuant to Federal Rule

 of Civil Procedure 23(b)(1), (b)(2), and/or (b)(3), including designating Plaintiff as Class

 representative and appointing Plaintiff’s counsel as Class Counsel;

        B.      Awarding Plaintiff and the Class and Subclass appropriate monetary relief,

 including actual damages; statutory damages; consequential damages; punitive damages;

 exemplary damages; nominal damages; restitution; and disgorgement of all earnings, interest,

 profits, compensation, and benefits received as a result of their unlawful acts, omissions, and

 practices;

        C.      Awarding Plaintiff and the Classes equitable, injunctive, and declaratory relief as

 may be appropriate to protect the interests of Plaintiff and Class Members, including but not

 limited to an Order:

              1. enjoining Defendant from engaging in the wrongful and unlawful conduct

                  complained of herein pertaining to the misuse, failure to protect, and/or disclosure

                  of Plaintiff’s and Class Members’ Private Information;

              2. requiring Defendant to implement appropriate security protocols designed to

                  protect the confidentiality and integrity of Private Information, including through:

                        a. utilization of appropriate methods, procedures, and policies with respect

                           to collection, storage, and use of Private Information;

                        b. encryption of all data collected through the course of business in

                           accordance with applicable regulations, industry standards, and federal,

                           state, and local laws;

                        c. monitoring of ingress and egress of all network traffic;




                                                    50
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              51 of
                                                                 5453
                                                                    of PageID
                                                                       56     #: 51




                    d. engaging independent third-party auditors and internal personnel to run

                       automated security monitoring, simulated attached, penetration tests, and

                       audits on Defendant’s systems;

                    e. segmenting of data by creation of appropriate firewalls and access

                       controls; and

                    f. establishing an appropriate and/or supplementing its existing information

                       security training program;

            3. compelling Defendant to issue prompt, complete, specific, and accurate

               disclosures to Plaintiff and Class Members, with respect to the Private

               Information compromised as the result of the Data Breach;

            4. requiring Defendant to meaningfully educate Plaintiff and all Class Members

               about the threats they face as a result of the loss of their Private Information to

               third parties, as well as the steps affected individuals must take to protect

               themselves;

            5. compelling Defendant to facilitate, maintain, and/or pay for credit monitoring

               services for Plaintiff and the Classes, for a period not less than five years;

            6. requiring Defendant to implement, maintain, regularly review, and revise as

               necessary a threat management program designed to appropriately monitor

               Defendant’s information networks for threats, both internal and external, and

               assess whether monitoring tools are appropriately configured, tested, and

               updated; and

            7. appointing a qualified and independent third-party assessor to conduct an

               attestation on an annual basis, for a period of ten years, to evaluate Defendant’s




                                               51
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              52 of
                                                                 5553
                                                                    of PageID
                                                                       56     #: 52




                   compliance with the terms of the Court’s final judgments, to provide such report

                   to the Court and counsel for the Class, and to report any deficiencies with

                   compliance with the Court’s judgment.

         D.      Compelling Defendant to pay the costs associated with notification of Class

 Members about the judgment and administration of claims;

         E.      Awarding Plaintiff and the Classes pre-judgment and post-judgment interest to the

 maximum extent allowable;

         F.      Awarding Plaintiff and the Classes reasonable attorneys’ fees, costs, and expenses;

 and

         G.      Awarding Plaintiff and the Classes such other favorable relief as allowable under

 law.


                                     JURY TRIAL DEMANDED

         Plaintiff, individually and on behalf of the Class and/or Subclass(es), hereby demands a

 trial by jury of all issues in this Complaint so triable.



 Dated: April 19, 2024                           Respectfully submitted,




                                                 _______________________
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                                                    52
Case 2:24-cv-00261-JRG-RSP
          Case MDL No. 3114 Document
                            Document 161-2
                                        Filed
                                            Filed
                                              04/19/24
                                                  04/25/24
                                                         Page
                                                            Page
                                                              53 of
                                                                 5653
                                                                    of PageID
                                                                       56     #: 53




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                                        53
